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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

       UNITED STATES OF AMERICA

       v.
                                                              No. 4:22-CR-00612-S
       EDWARD CONSTANTINESCU,
       PERRY “PJ” MATLOCK,
       JOHN RYBARCZYK,
       GARY DEEL,
       STEFAN HRVATIN,
       TOM COOPERMAN,
       MITCHELL HENNESSEY,
       DANIEL KNIGHT.


     DEFENDANT EDWARD CONSTANTINESCU’S NOTICE OF ADDITIONAL
   AUTHORITY IN SUPPORT OF HIS MOTION TO DISMISS THE SUPERSEDING
                       INDICTMENT (ECF 262)

       Defendant Edward Constantinescu writes to apprise the Court of additional authority that

further supports the arguments set forth in his motion to dismiss the Superseding Indictment

(ECF 262), specifically the Fifth Circuit’s decision in United States v. Greenlaw (Case No: 22-

10511, 5th Cir. July 31, 2023) (Ex. A hereto). As the Court is aware, on May 10, 2023,

Constantinescu moved to dismiss the Superseding Indictment on the grounds that the

government (1) has failed to allege any “false” statements made by Constantinescu and (2) has

failed to provide fair notice that Constantinescu’s lawful conduct could have given rise to

charges under 18 U.S.C. §§ 1348 and 1349 or how he could have conformed his conduct to

render it not criminal. In support of the sub judice motion to dismiss, Constantinescu noted that

“§ 1348 has yet to be interpreted by the Fifth Circuit.” [ECF at 27, Mot. pg. 19].

       On July 31, 2023, the Fifth Circuit’s Greenlaw opinion interpreted §§ 1348 and 1349.

While the Greenlaw decision has no directly applicable holding or findings (the Fifth Circuit
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affirmed a conviction of the executives of a residential real estate fund who ran “a classic Ponzi-

like scheme” and made knowingly false statements in required SEC filings), it recognizes two

legal principles advocated for in Constantinescu’s motion to dismiss. First, it confirms

Constantinescu’s position that falsity is a required element of § 1348 distinct from its intent

element. See Greenlaw, at 8 citing United States v. Scully, 951 F.3d 656, 671 (5th Cir. 2020) (“To

establish that the defendant engaged in a scheme to defraud, the Government must prove that he

‘made some kind of false or fraudulent material misrepresentation’.”). In so ruling, the

Greenlaw Court implicitly adopted the Third Circuit’s Harra reasoning, which requires objective

indicia of a statement’s falsity separate from the speaker’s intent to defraud, while distinguishing

Harra because in Greenlaw the securities laws “expressly defined the statute and regulatory

definitions.” Id. at 13 (discussing United States v. Harra, 985 F.3d 196, 225 (3d Cir. 2021))

compare [ECF 262 at 10, 17, 19, 21, 35, Mot. pgs. 2, 9, 11, 13, 27) (citing Harra and arguing

that “the falsity element stand[s] independent of a defendant’s subjective intent” and that the

government must allege some objective indicia of falsity)]. Secondly, the Greenlaw decision

illuminates Constantinescu’s fair notice argument because the at-issue statements in Greenlaw

were made by insiders who were required to make quarterly and annual filings with the SEC and

who made objectively false statements about the company in those filings. Id. at 11–14.1



Dated: August 2, 2023                                                    Respectfully submitted,



                                                                                      __________
                                                                         Matthew A. Ford

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  In Greenlaw, the Fifth Court has extended to § 1348 the principle recently espoused by the Supreme Court that
“there is no cognizable property interest in the ethereal right to accurate information,” which appears to apply to the
Superseding Indictment. Greenlaw, at 21. Constantinescu stands prepared to address the issue should the Court
wish.
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                                                              Texas Bar No. 24119390
                                                              mford@fordobrien.com
desire                                                        FORD O’BRIEN LANDY, LLP
                                                              3700 Ranch Road 620 South, Suite B
                                                              Austin, Texas 78738
                                                              Telephone: (512)-503-6388
                                                              Facsimile: (212) 256-1047

                                                              Attorneys for Defendant
                                                              Edward Constantinescu




                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 2, 2023, a true and correct copy of the foregoing

document has been electronically served on all counsel of record via the Court’s CM/ECF

system.

                                                              /s/ Matthew A. Ford
                                                              Matthew A. Ford
